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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
__________________________________________
  VIVIAN PATZ and MICHAEL PATZ,             )
                                            )
                   Plaintiffs,              ) Civil Action No.: 2:17-cv-03465
        v.                                  )
                                            )
  WALTER H. MAPLES, INC., SHELLY            ) Judge Susie Morgan
  JAMBON, SHH PROPERTIES, L.L.C., DOES 1 – )
  10, ABC INSURANCE COMPANIES 1 – 10,       ) Magistrate Judge Janis Van Meerveld
                                            )
                  Defendants.               )
  _________________________________________ )

                     MOTION TO ENROLL ADDITIONAL COUNSEL

      NOW INTO COURT, through undersigned counsel, come the plaintiffs, Vivian Patz and

Michael Patz (“Plaintiffs”), who respectfully move this Court pursuant to Local Rule 83.2.12 to

enter an order permitting Amanda Hass (LA Bar # 37718), of the Law Office of William Most, to

enroll as additional counsel of record on behalf of Plaintiffs in the above-captioned matter. William

Most, who has consented to this motion, will remain as counsel for Plaintiffs.


                                              Respectfully submitted,

                                                  /s/ Kerry A. Murphy
                                              Kerry A. Murphy (La. Bar No. 31382)
                                              Catherine E. Lasky (La. Bar No. 28652)
                                              LASKY MURPHY LLC
                                              715 Girod Street, Suite 250
                                              New Orleans LA 70130
                                              Telephone: (504) 603-1500
                                              Facsimile: (504) 603-1503




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2019, a copy of Plaintiffs’ Motion to Enroll Additional

Counsel was filed electronically with the Clerk of Court via the CM/ECF system. Notice of this

filing will be sent to all counsel of record by operation of the Court’s electronic filing system.


                                               /s/ Kerry Murphy
                                                   Kerry Murphy




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